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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT


UNITED STATES OF AMERICA                      :
                                              :
       v.                                     :       CRIM. NO. 3:10CR222(EBB)
                                              :
ROBERT PONTE                                  :


                       ORDER RE APPOINTMENT OF CJA COUNSEL

       On May 31, 2007 the Court appointed Jodi Zils Gagne as CJA counsel for the defendant,

Robert Ponte. Counsel has now moved to appoint additional counsel to assist her in this

complex case. Because the Court finds that this is a difficult case in which it is necessary and in

the interest of justice to appoint an additional attorney, the motion [doc. # 165] is GRANTED.

       The Court appoints attorney Charles Wilson to serve in addition to attorney Zils Gagne.

       Both counsel shall contact Jerry Trtz, CJA Case-Budgeting Attorney for the Second

Circuit and formulate a case budget.

                                              /s/___________________________________
                                              ELLEN BREE BURNS
                                              SENIOR UNITED STATES DISTRICT JUDGE

               SO ORDERED this 12th day of June, 2012 at New Haven, Connecticut
